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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TENA L. COX,

        Plaintiff,

-vs-
                                              Case No.
EQUIFAX INFORMATION SERVICES
LLC; EXPERIAN INFORMATION
SOLUTIONS, INC.; and TRANS
UNION LLC,

        Defendants.

               COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, TENA L. COX (hereinafter “Plaintiff”), by and

through her undersigned counsel, for her cause of action against Defendants,

EQUIFAX INFORMATION SERVICES LLC (hereinafter “Equifax”); EXPERIAN

INFORMATION SOLUTIONS, INC. (hereinafter “Experian”); and TRANS

UNION LLC (hereinafter “Trans Union”) (hereinafter collectively “Defendants”),

and in support thereof respectfully alleges violations of the Fair Credit Reporting

Act (“FCRA”), 15 U.S.C. § 1681, et seq.

                         PRELIMINARY STATEMENT

       1.     This is an action for actual damages, statutory damages, punitive

damages, costs, and attorney’s fees brought pursuant to the FCRA.


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      2.     Today in America there are three major consumer reporting agencies,

Equifax Information Services LLC (hereinafter “Equifax”), Trans Union LLC

(hereinafter “Trans Union”), and Experian Information Solutions, Inc. (hereinafter

“Experian”) (hereinafter collectively “CRAs”).

      3.     Consumer reporting agencies that create consumer reports, like the

CRAs, are charged with using reasonable procedures designed to ensure the

maximum possible accuracy of the information they report. It is not enough for them

to simply parrot information they receive from entities, particularly where a

consumer makes a dispute about information reported.

      4.     When a consumer like Plaintiff disputes information through the

agencies, those disputes are transmitted to the party furnishing the information. The

FCRA demands that each party separately conduct a reasonable investigation of the

consumer’s dispute and correct or delete information they learn to be inaccurate or

cannot otherwise verify.

      5.     The Consumer Financial Protection Bureau has noted, “experience

indicates that [Credit Reporting Agencies] lack incentives and under-invest in

accuracy”. Consumer Fin. Prot. Bureau, Supervisory Highlights Consumer

Reporting Special Edition 21 (Issue 14, March 2, 2017).




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                           JURISDICTION AND VENUE

       6.     Jurisdiction for this Court is conferred by 28 U.S.C. § 1331, as this

action involves violations of the FCRA.

       7.     Venue is proper for this Court pursuant to 28 U.S.C. § 1391(b)(2), as

this is the judicial district in which a substantial part of the events or omissions giving

rise to the claims occurred.

       8.     Venue is proper in this District as Equifax’s principal address is in this

District; Defendants transact business within this District; and violations described

in this Complaint occurred in this District.

       9.     Plaintiff is a natural person and resident of Marion County in the State

of Indiana. She is a “consumer” as defined by 15 U.S.C. § 1681a(c).

       10.    Equifax is a corporation headquartered at 1550 Peachtree Street,

Northwest in Atlanta, Georgia 30309.

       11.    Equifax is a “consumer reporting agency,” as defined in 15 U.S.C. §

1681(f). Equifax is regularly engaged in the business of assembling, evaluating and

disbursing information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681(d) to third parties.

       12.    Equifax disburses such consumer reports to third parties under contract

for monetary compensation.




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      13.    Experian is a corporation with its principal place of business in the State

of California and is authorized to do business in the State of Georgia through its

registered agent, C T Corporation System, located at 289 S Culver St, Lawrenceville,

Georgia 30046.

      14.    Experian is a “consumer reporting agency,” as defined in 15 U.S.C. §

1681(f). Experian is regularly engaged in the business of assembling, evaluating and

disbursing information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681(d) to third parties.

      15.    Experian disburses such consumer reports to third parties under

contract for monetary compensation.

      16.    Trans Union is a corporation with its principal place of business in the

State of Illinois and is authorized to do business in the State of Georgia through its

registered agent, Corporation Service Company, located at 2 Sun Court, Suite 400,

Peachtree Corners, Georgia 30092.

      17.    Trans Union is a “consumer reporting agency,” as defined in 15 U.S.C.

§ 1681(f). Trans Union is regularly engaged in the business of assembling,

evaluating and disbursing information concerning consumers for the purpose of

furnishing consumer reports, as defined in 15 U.S.C. § 1681(d) to third parties.

      18.    Trans Union disburses such consumer reports to third parties under

contract for monetary compensation.

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                            FACTUAL ALLEGATIONS

      19.    Plaintiff is a natural person who is alleged to owe a debt to multiple

accounts which do not belong to her.

      20.    Upon information and belief, Plaintiff is a victim of identity theft.

      21.    In or about April 2024, Plaintiff first became aware of erroneous

accounts appearing in her credit file when she was in the process of purchasing a

new car.

      22.    Plaintiff made attempts to dispute the erroneous accounts directly with

the furnishers without much success.

      23.    On or about June 9, 2024, Plaintiff filed a Federal Trade Commission

(“FTC”) Identity Theft Report, report number 172602425. In this report, she

explained that she was a victim of identity theft and that Affirm, Inc. (hereinafter

“Affirm”), partial account number IO8*, and Affirm, partial account number U42*,

listed in her credit report did not belong to her.

      24.    In or about August 2024, Plaintiff contacted Experian to dispute Affirm,

partial account number IO8*, and Affirm, partial account number U42*, which did

not belong to her.

      25.    On or about August 20, 2024, Plaintiff received dispute results from

Experian which stated Affirm, partial account number IO8*, and Affirm, partial

account number U42*, were verified as accurate and remains.

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      26.          Experian failed to do any independent investigation into Plaintiff’s

disputes, but rather parroted information it received from the furnisher.

      27.          Experian never attempted to contact Plaintiff during the alleged

investigation.

      28.          In or about September 2024, Plaintiff again contacted Experian to

dispute the following accounts which did not belong to her.

               i.      Affirm, partial account number IO8*;

             ii.       Affirm, partial account number U42*;

            iii.       Navy Federal Credit Union (hereinafter “NFCU”), partial account

                       number ending in *8791;

             iv.       NFCU, partial account number ending in *2572; and

             v.        Pentagon Federal Credit Union (hereinafter “Penfed”), partial

                       account number ending in *9370.

      29.           On or about September 19, 2024, Plaintiff obtained copies of her credit

reports from the CRAs. Upon review, Plaintiff observed the following erroneous

accounts which did not belong to her.

 Furnisher          CRA                             Account Status
 Affirm             Experian                        IO8*    Balance $706
 Affirm             Experian                        U42*    Balance $957
 Capital One        Equifax, Experian, Trans Union *8040    Charge off; Balance $3,366
 Capital One        Equifax, Experian, Trans Union *9262    Charge off; Balance $5,865
 NFCU               Equifax, Experian, Trans Union *8791    Charge off; Balance $2,062


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 Furnisher         CRA                             Account Status
 NFCU              Equifax, Experian, Trans Union *2572     Charge off; Balance $9,568
 NFCU              Equifax                         *2221    Not more than three payments past
                                                            due; Balance $9,550
 PenFed            Equifax, Experian, Trans Union *9370     Closed; $6,062 written off


      30.          On or about September 19, 2024, Plaintiff filed a second FTC Identity

Theft Report, report number 177759295. In this report, she explained that she was a

victim of identity theft and that the aforementioned accounts listed in her credit

report did not belong to her.

      31.          On or about September 25, 2024, Plaintiff received dispute results from

Experian which stated the following as to the erroneous accounts previously

disputed by Plaintiff.

              i.      Affirm, partial account number IO8*, verified as accurate and

                      remains;

             ii.      Affirm, partial account number U42*, verified as accurate and

                      remains;

            iii.      NFCU, partial account number ending in *8791, verified as accurate

                      and remains;

             iv.      NFCU, partial account number ending in *2572, verified and

                      updated; and

             v.       PenFed, partial account number ending in *9370, verified as

                      accurate and remains.
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      32.    Experian failed to do any independent investigation into Plaintiff’s

disputes, but rather parroted information it received from the furnisher(s).

      33.    Experian never attempted to contact Plaintiff during the alleged

investigation.

      34.    Due to the inaccurate reporting, on or about November 15, 2024,

Plaintiff mailed a detailed dispute letter to the CRAs. In the letter, Plaintiff requested

a copy of her credit report. Further, Plaintiff advised she was a victim of identity

theft and that the aforementioned erroneous accounts did not belong to her. To

confirm her identity, Plaintiff included images of her driver’s license and Social

Security card in the letter. Further, Plaintiff provided images of the erroneous

reporting, and images of her filed FTC Identity Theft Report(s).

      35.    Plaintiff mailed her detailed dispute letter via USPS Certified Mail to

Equifax (9407 1112 0620 5504 8268 67), Experian (9407 1112 0620 5504 8596 05),

and Trans Union (9407 1112 0620 5504 8684 16).

      36.    On or about November 26, 2024, Plaintiff received a response from

Equifax which stated it would not be blocking the requested information and

requested proof of identification despite Plaintiff providing copies of her driver’s

license and Social Security card.

      37.    Despite confirmation of delivery on November 19, 2024, Plaintiff did

not receive dispute results or a copy of her credit report in the mail from Equifax.

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However, upon review of her updated credit report on or about December 20, 2024,

Plaintiff observed the following as to the disputed erroneous accounts.

      Furnisher     Account Status
      Capital One   *8040     Continue to report as Charge off; Balance $3,366
      Capital One   *9262     Continue to report as Charge off; Balance $5,865
      NFCU          *8791     Not reported
      NFCU          *2572     Continue to report as Charge off; Balance $9,568
      NFCU          *2221     Not reported
      PenFed        *9370     Continue to report as Closed; $6,062 written off


      38.    Plaintiff provided enough information to Equifax to identify her file and

to handle the dispute. Equifax failed to follow the mandates of the FCRA and refused

to conduct a reasonable investigation.

      39.    Equifax failed to do any independent investigation into Plaintiff’s

disputes, but rather parroted information it received from the furnisher(s).

      40.    Equifax never attempted to contact Plaintiff during the alleged

investigation.

      41.    On or about December 6, 2024, Plaintiff received dispute results from

Experian which stated Affirm, partial account number IO8 and Affirm, partial

account number U42*, were verified as accurate and remains.

      42.    On or about December 16, 2024, Plaintiff received additional dispute

results from Experian which stated the following as to the remaining disputed

erroneous accounts.

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                 Furnisher      Account Dispute Results
                 Capital One    *8040     Verified and updated
                 Capital One    *9262     Verified and updated
                 NFCU           *8791     Verified as accurate and remains
                 NFCU           *2572     Verified as accurate and remains
                 PenFed         *9370     Verified as accurate and remains


      43.    Experian failed to do any independent investigation into Plaintiff’s

disputes, but rather parroted information it received from the furnisher(s).

      44.    Experian never attempted to contact Plaintiff during the alleged

investigation.

      45.    Despite confirmation of delivery on November 18, 2024, Plaintiff did

not receive dispute results or a copy of her credit report in the mail from Trans Union.

However, upon review of her updated Trans Union credit report on or about

December 20, 2024, Plaintiff observed the following as to the disputed erroneous

accounts.

              Furnisher        Account Status
              Capital One      *8040    Continue to report as Charge off; Balance $3,366
              Capital One      *9262    Continue to report as Charge off; Balance $5,865
              NFCU             *8791    Continue to report as Charge off; Balance $2,062
              NFCU             *2572    Continue to report as Charge off; Balance $9,568
              PenFed           *9370    Continue to report as Closed; $6,062 written off


      46.    Plaintiff provided enough information to Trans Union to identify her

file and to handle the dispute. Trans Union failed to follow the mandates of the FCRA

and refused to conduct a reasonable investigation.
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      47.    Trans Union failed to do any independent investigation into Plaintiff’s

disputes, but rather parroted information it received from the furnisher(s).

      48.    Trans Union never attempted to contact Plaintiff during the alleged

investigation.

      49.    Due to the continued inaccurate reporting, on or about December 30,

2024, Plaintiff mailed a second detailed dispute letter to the CRAs. In the letter,

Plaintiff again requested a copy of her credit report. Further, Plaintiff reiterated she

was a victim of identity theft and that the aforementioned erroneous accounts did not

belong to her. To confirm her identity, Plaintiff included images of her driver’s

license and Social Security card in the letter. Further, Plaintiff provided images of

the erroneous reporting, and images of her filed FTC Identity Theft Report(s).

      50.    Plaintiff mailed her detailed dispute letter via USPS Certified Mail to

Equifax (9407 1112 0620 6883 5502 82), Experian (9407 1112 0620 6883 5508 24),

and Trans Union (9407 1112 0620 6883 5600 07).

      51.    As of the filing of this Complaint, Plaintiff has not received dispute

results from the CRAs as to her second detailed dispute letter.

      52.    Despite Plaintiff’s best efforts to have the erroneous reporting

corrected, Defendants continue to inaccurately report the erroneous accounts in

Plaintiff’s credit file. Accordingly, Plaintiff's damages are ongoing as of the filing of

this Complaint.

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      53.         Defendants have not conducted an actual investigation despite

Plaintiff’s pleas, and upon information and belief, simply continue to parrot off the

back of the furnisher(s).

      54.         Plaintiff continues to suffer as of the filing of this Complaint with

Defendants’ reluctance to conduct a thorough investigation into her disputes or

otherwise make her credit file accurate.

      55.         As a result of the inaccurate credit reporting, Plaintiff has suffered

damages, including, but not limited to:

             i.      Monies lost by attempting to fix her credit. Plaintiff has suffered

                     actual damages in postage paid, wasted ink and paper, and wasted

                     time;

             ii.     Loss of time attempting to cure the errors;

            iii.     Mental anguish, added stress, aggravation, embarrassment,

                     sleepless nights, and other related impairments to the enjoyment of

                     life; Plaintiff is being physically affected by Defendants’ actions;

            iv.      Apprehensiveness to apply for new credit due to the fear of

                     rejection; and

             v.      Defamation as Defendants published inaccurate information to third

                     party entities.




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                                CAUSES OF ACTION

                                    COUNT I
                      Violation of 15 U.S.C. § 1681e(b) as to
             Defendant, Equifax Information Services LLC (Negligent)

       56.     Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

       57.     Equifax violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       58.     Equifax allowed for numerous furnisher(s) to report inaccurate and

erroneous accounts to Plaintiff’s credit file.

       59.     Upon information and belief, Equifax does not allow its representatives

to call consumers, like Plaintiff, during the dispute process or call witnesses with

knowledge about the dispute.

       60.     Equifax selects to just parrot the information provided by the Furnisher

and to avoid conducting re-investigations.

       61.     Equifax chooses the illegitimate parroting of information despite

consumers (like Plaintiff) providing ample evidence.




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      62.    Equifax violated its own policies and procedures by not deleting

erroneous accounts when Plaintiff provided them with the filed FTC Identity Theft

Report, which contained sworn testimony of the fraud.

      63.    As a result of this conduct, action, and inaction of Equifax, Plaintiff

suffered damage, including without limitation, loss of the ability to benefit from

lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      64.    The conduct, action, and/or inaction of Equifax was negligent,

rendering it liable for actual damages, in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

      65.    Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

      WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual damages against Defendant, EQUIFAX INFORMATION SERVICES

LLC; award Plaintiff her attorney’s fees and costs; award pre-judgment and post-

judgment interest at the legal rate; enjoinder from further violations of these parts;

and such other such relief the Court may deem just and proper.




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                                  COUNT II
                    Violation of 15 U.S.C. § 1681e(b) as to
             Defendant, Equifax Information Services LLC (Willful)

       66.   Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

       67.   Equifax violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       68.   Equifax allowed for numerous furnisher(s) to report inaccurate and

erroneous accounts to Plaintiff’s credit file.

       69.   Upon information and belief, Equifax does not allow its representatives

to call consumers, like Plaintiff, during the dispute process or call witnesses with

knowledge about the dispute.

       70.   Equifax selects to just parrot the information provided by the Furnisher

and to avoid conducting re-investigations.

       71.   Equifax chooses the illegitimate parroting of information despite

consumers (like Plaintiff) providing ample evidence.

       72.   Equifax violated its own policies and procedures by not deleting

erroneous accounts when Plaintiff provided them with the filed FTC Identity Theft

Report, which contained sworn testimony of the fraud.

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      73.     As a result of this conduct, action, and inaction of Equifax, Plaintiff

suffered damage, including without limitation, loss of the ability to benefit from

lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      74.     The conduct, action and/or inaction of Equifax was willful, rendering it

liable for actual or statutory damages, and punitive damages, in an amount to be

determined by the Court pursuant to 15 U.S.C. §1681n.

      75.     Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual or statutory damages and punitive damages against Defendant,

EQUIFAX INFORMATION SERVICES LLC; award Plaintiff her attorney’s fees

and costs; award pre-judgment and post-judgment interest at the legal rate; enjoinder

from further violations of these parts; and such other such relief the Court may deem

just and proper.

                                   COUNT III
                       Violations of 15 U.S.C. § 1681i as to
            Defendant, Equifax Information Services LLC (Negligent)

      76.     Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

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       77.    After receiving Plaintiff’s disputes, Equifax violated 15 U.S.C. § 1681i

by: (i) failing to delete inaccurate information in Plaintiff’s credit file after receiving

notice of such inaccuracies; (ii) failing to conduct a lawful and reasonable

reinvestigation into Plaintiff’s disputes; (iii) failing to maintain reasonable

procedures with which to filter and verify disputed information in Plaintiff’s credit

file; (iv) failing to review and consider all relevant information submitted by Plaintiff

in the disputes; and (v) relying upon verification from a source it has to know is

unreliable.

       78.    Despite the large amount of information and documentation produced

by Plaintiff demonstrating the inaccurate reporting, Equifax failed to conduct

independent investigations into Plaintiff’s disputes and simply transferred the duty

to investigate to the furnisher(s).

       79.    Plaintiff provided Equifax with the information it needed to confirm

that she was a victim of identity theft. Equifax ignored this information and failed to

conduct a thorough investigation into her disputes or otherwise make her credit file

accurate.

       80.    As a direct result of this conduct, action and/or inaction of Equifax,

Plaintiff suffered damage, including without limitation, loss of the ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain




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stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

       81.    The conduct, action, and/or inaction of Equifax was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

       82.    Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to § 1681o.

       WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual damages against Defendant, EQUIFAX INFORMATION SERVICES

LLC; award Plaintiff her attorney’s fees and costs; award pre-judgment and post-

judgment interest at the legal rate; enjoinder from further violations of these parts;

and such other such relief the Court may deem just and proper.

                                  COUNT IV
                      Violations of 15 U.S.C. § 1681i as to
             Defendant, Equifax Information Services LLC (Willful)

       83.    Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

       84.    After receiving Plaintiff’s disputes, Equifax violated 15 U.S.C. § 1681i

by: (i) failing to delete inaccurate information in Plaintiff’s credit file after receiving

notice of such inaccuracies; (ii) failing to conduct a lawful and reasonable

reinvestigation into Plaintiff’s disputes; (iii) failing to maintain reasonable

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procedures with which to filter and verify disputed information in Plaintiff’s credit

file; (iv) failing to review and consider all relevant information submitted by Plaintiff

in the disputes; and (v) relying upon verification from a source it has to know is

unreliable.

      85.     Despite the large amount of information and documentation produced

by Plaintiff demonstrating the inaccurate reporting, Equifax failed to conduct

independent investigations into Plaintiff’s disputes and simply transferred the duty

to investigate to the furnisher(s).

      86.     Plaintiff provided Equifax with the information it needed to confirm

that she was a victim of identity theft. Equifax ignored this information and failed to

conduct a thorough investigation into her disputes or otherwise make her credit file

accurate.

      87.     As a direct result of this conduct, action and/or inaction of Equifax,

Plaintiff suffered damage, including without limitation, loss of the ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      88.     The conduct, action, and/or inaction of Equifax was willful, rendering

it liable for actual or statutory damages and punitive damages in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.

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       89.    Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to § 1681n.

       WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual or statutory damages and punitive damages against Defendant,

EQUIFAX INFORMATION SERVICES LLC; award Plaintiff her attorney’s fees

and costs; award pre-judgment and post-judgment interest at the legal rate; enjoinder

from further violations of these parts; and such other such relief the Court may deem

just and proper.

                                    COUNT V
                       Violations of 15 U.S.C. § 1681g as to
             Defendant, Equifax Information Services LLC (Negligent)

       90.    Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

       91.    After receiving Plaintiff’s disputes, Equifax violated 15 U.S.C. § 1681g

by failing to disclose to Plaintiff all information in Plaintiff’s credit file.

       92.    Plaintiff provided to Equifax appropriate and sufficient proofs of

identity to allow Equifax to create a high degree of confidence in knowing the

identity of Plaintiff.

       93.    Despite the sufficient proofs of identification produced by Plaintiff,

Equifax refused to conduct any independent investigations into Plaintiff’s disputes

and provide any documentation, her credit report, or dispute results to Plaintiff.

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      94.    As a direct result of this conduct, action and/or inaction of Equifax,

Plaintiff suffered damage, including without limitation, loss of the ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      95.    The conduct, action, and/or inaction of Equifax was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

      96.    Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to § 1681o.

      WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual damages against Defendant, EQUIFAX INFORMATION SERVICES

LLC; award Plaintiff her attorney’s fees and costs; award pre-judgment and post-

judgment interest at the legal rate; enjoinder from further violations of these parts;

and such other such relief the Court may deem just and proper.

                                 COUNT VI
                    Violations of 15 U.S.C. § 1681g as to
            Defendant, Equifax Information Services LLC (Willful)

      97.    Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.



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       98.    After receiving Plaintiff’s disputes, Equifax violated 15 U.S.C. § 1681g

by failing to disclose to Plaintiff all information in Plaintiff’s credit file.

       99.    Plaintiff provided to Equifax appropriate and sufficient proofs of

identity to allow Equifax to create a high degree of confidence in knowing the

identity of Plaintiff.

       100. Despite the sufficient proofs of identification produced by Plaintiff,

Equifax refused to conduct any independent investigations into Plaintiff’s disputes

and provide any documentation, her credit report, or dispute results to Plaintiff.

       101. As a direct result of this conduct, action and/or inaction of Equifax,

Plaintiff suffered damage, including without limitation, loss of the ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

       102. The conduct, action, and/or inaction of Equifax was willful, rendering

it liable for actual or statutory damages and punitive damages in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.

       103. Plaintiff is entitled to recover costs and attorney’s fees from Equifax in

an amount to be determined by the Court pursuant to § 1681n.

       WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual or statutory damages and punitive damages against Defendant,

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EQUIFAX INFORMATION SERVICES LLC; award Plaintiff her attorney’s fees

and costs; award pre-judgment and post-judgment interest at the legal rate; enjoinder

from further violations of these parts; and such other such relief the Court may deem

just and proper.

                                    COUNT VII
                       Violation of 15 U.S.C. § 1681e(b) as to
             Defendant, Experian Information Solutions, Inc. (Negligent)

       104. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

       105. Experian violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       106. Experian allowed for numerous furnisher(s) to report inaccurate and

erroneous accounts to Plaintiff’s credit file.

       107. Upon information and belief, Experian does not allow its

representatives to call consumers, like Plaintiff, during the dispute process or call

witnesses with knowledge about the dispute.

       108. Experian selects to just parrot the information provided by the

Furnisher and to avoid conducting re-investigations.




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      109. Experian chooses the illegitimate parroting of information despite

consumers (like Plaintiff) providing ample evidence.

      110. Experian violated its own policies and procedures by not deleting

erroneous accounts when Plaintiff provided them with the filed FTC Identity Theft

Report, which contained sworn testimony of the fraud.

      111. As a result of this conduct, action, and inaction of Experian, Plaintiff

suffered damage, including without limitation, loss of the ability to benefit from

lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      112. The conduct, action, and/or inaction of Experian was negligent,

rendering it liable for actual damages, in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

      113. Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

      WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual damages against Defendant, EXPERIAN INFORMATION

SOLUTIONS, INC.; award Plaintiff her attorney’s fees and costs; award pre-

judgment and post-judgment interest at the legal rate; enjoinder from further




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violations of these parts; and such other such relief the Court may deem just and

proper.

                                  COUNT VIII
                     Violation of 15 U.S.C. § 1681e(b) as to
             Defendant, Experian Information Solutions, Inc. (Willful)

       114. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

       115. Experian violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       116. Experian allowed for numerous furnisher(s) to report inaccurate and

erroneous accounts to Plaintiff’s credit file.

       117. Upon information and belief, Experian does not allow its

representatives to call consumers, like Plaintiff, during the dispute process or call

witnesses with knowledge about the dispute.

       118. Experian selects to just parrot the information provided by the

Furnisher and to avoid conducting re-investigations.

       119. Experian chooses the illegitimate parroting of information despite

consumers (like Plaintiff) providing ample evidence.




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      120. Experian violated its own policies and procedures by not deleting

erroneous accounts when Plaintiff provided them with the filed FTC Identity Theft

Report, which contained sworn testimony of the fraud.

      121. As a result of this conduct, action, and inaction of Experian, Plaintiff

suffered damage, including without limitation, loss of the ability to benefit from

lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      122. The conduct, action, and/or inaction of Experian was willful, rendering

it liable for actual or statutory damages and punitive damages, in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.

      123. Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual or statutory damages and punitive damages against Defendant,

EXPERIAN INFORMATION SOLUTIONS, INC.; award Plaintiff her attorney’s

fees and costs; award pre-judgment and post-judgment interest at the legal rate;

enjoinder from further violations of these parts; and such other such relief the Court

may deem just and proper.




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                                  COUNT IX
                      Violation of 15 U.S.C. § 1681i as to
          Defendant, Experian Information Solutions, Inc. (Negligent)

      124. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

      125. After receiving Plaintiff’s disputes, Experian violated 15 U.S.C. §

1681i by: (i) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (ii) failing to conduct a lawful and reasonable

reinvestigation into Plaintiff’s disputes; (iii) failing to maintain reasonable

procedures with which to filter and verify disputed information in Plaintiff’s credit

file; (iv) failing to review and consider all relevant information submitted by Plaintiff

in the disputes; and (v) relying upon verification from a source it has to know is

unreliable.

      126. Despite the large amount of information and documentation produced

by Plaintiff demonstrating the inaccurate reporting, Experian failed to conduct

independent investigations into Plaintiff’s disputes and simply transferred the duty

to investigate to the furnisher.

      127. Plaintiff provided Experian with the information it needed to confirm

that she was a victim of identity theft. Experian ignored this information and failed

to conduct a thorough investigation into her disputes or otherwise make her credit

file accurate.

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      128. As a direct result of this conduct, action and/or inaction of Experian,

Plaintiff suffered damage, including without limitation, loss of the ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      129. The conduct, action, and/or inaction of Experian was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

      130. Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to § 1681o.

      WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual damages against Defendant, EXPERIAN INFORMATION

SOLUTIONS, INC.; award Plaintiff her attorney’s fees and costs; award pre-

judgment and post-judgment interest at the legal rate; enjoinder from further

violations of these parts; and such other such relief the Court may deem just and

proper.

                                   COUNT X
                      Violation of 15 U.S.C. § 1681i as to
           Defendant, Experian Information Solutions, Inc. (Willful)

      131. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

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      132. After receiving Plaintiff’s disputes, Experian violated 15 U.S.C. §

1681i by: (i) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (ii) failing to conduct a lawful and reasonable

reinvestigation into Plaintiff’s disputes; (iii) failing to maintain reasonable

procedures with which to filter and verify disputed information in Plaintiff’s credit

file; (iv) failing to review and consider all relevant information submitted by Plaintiff

in the disputes; and (v) relying upon verification from a source it has to know is

unreliable.

      133. Despite the large amount of information and documentation produced

by Plaintiff demonstrating the inaccurate reporting, Experian failed to conduct

independent investigations into Plaintiff’s disputes and simply transferred the duty

to investigate to the furnisher.

      134. Plaintiff provided Experian with the information it needed to confirm

that she was a victim of identity theft. Experian ignored this information and failed

to conduct a thorough investigation into her disputes or otherwise make her credit

file accurate.

      135. As a direct result of this conduct, action and/or inaction of Experian,

Plaintiff suffered damage, including without limitation, loss of the ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain




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stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      136. The conduct, action, and/or inaction of Experian was willful, rendering

it liable for actual or statutory damages and punitive damages in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.

      137. Plaintiff is entitled to recover costs and attorney’s fees from Experian

in an amount to be determined by the Court pursuant to § 1681n.

      WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual or statutory damages and punitive damages against Defendant,

EXPERIAN INFORMATION SOLUTIONS, INC.; award Plaintiff her attorney’s

fees and costs; award pre-judgment and post-judgment interest at the legal rate;

enjoinder from further violations of these parts; and such other such relief the Court

may deem just and proper.

                                   COUNT XI
                     Violation of 15 U.S.C. § 1681e(b) as to
                    Defendant, Trans Union LLC (Negligent)

      138. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

      139. Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the




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preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       140. Trans Union allowed for numerous furnisher(s) to report inaccurate and

erroneous accounts to Plaintiff’s credit file.

       141. Upon information and belief, Trans Union does not allow its

representatives to call consumers, like Plaintiff, during the dispute process or call

witnesses with knowledge about the dispute.

       142. Trans Union selects to just parrot the information provided by the

Furnisher and to avoid conducting re-investigations.

       143. Trans Union chooses the illegitimate parroting of information despite

consumers (like Plaintiff) providing ample evidence.

       144. Trans Union violated its own policies and procedures by not deleting

erroneous accounts when Plaintiff provided them with the filed FTC Identity Theft

Report, which contained sworn testimony of the fraud.

       145. As a result of this conduct, action, and inaction of Trans Union, Plaintiff

suffered damage, including without limitation, loss of the ability to benefit from

lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.




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       146. The conduct, action, and/or inaction of Trans Union was negligent,

rendering it liable for actual damages, in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

       147. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

       WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual damages against Defendant, TRANS UNION LLC; award Plaintiff her

attorney’s fees and costs; award pre-judgment and post-judgment interest at the legal

rate; enjoinder from further violations of these parts; and such other such relief the

Court may deem just and proper.

                                   COUNT XII
                      Violation of 15 U.S.C. § 1681e(b) as to
                      Defendant, Trans Union LLC (Willful)

       148. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

       149. Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report and credit files it published and maintains concerning

Plaintiff.

       150. Trans Union allowed for numerous furnisher(s) to report inaccurate and

erroneous accounts to Plaintiff’s credit file.

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      151. Upon information and belief, Trans Union does not allow its

representatives to call consumers, like Plaintiff, during the dispute process or call

witnesses with knowledge about the dispute.

      152. Trans Union selects to just parrot the information provided by the

Furnisher and to avoid conducting re-investigations.

      153. Trans Union chooses the illegitimate parroting of information despite

consumers (like Plaintiff) providing ample evidence.

      154. Trans Union violated its own policies and procedures by not deleting

erroneous accounts when Plaintiff provided them with the filed FTC Identity Theft

Report, which contained sworn testimony of the fraud.

      155. As a result of this conduct, action, and inaction of Trans Union, Plaintiff

suffered damage, including without limitation, loss of the ability to benefit from

lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      156. The conduct, action, and/or inaction of Trans Union was willful,

rendering it liable for actual or statutory damages and punitive damages, in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      157. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

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      WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual or statutory damages and punitive damages against Defendant, TRANS

UNION LLC; award Plaintiff her attorney’s fees and costs; award pre-judgment and

post-judgment interest at the legal rate; enjoinder from further violations of these

parts; and such other such relief the Court may deem just and proper.

                                  COUNT XIII
                       Violation of 15 U.S.C. § 1681i as to
                    Defendant, Trans Union LLC (Negligent)

      158. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

      159. After receiving Plaintiff’s disputes, Trans Union violated 15 U.S.C. §

1681i by: (i) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (ii) failing to conduct a lawful and reasonable

reinvestigation into Plaintiff’s disputes; (iii) failing to maintain reasonable

procedures with which to filter and verify disputed information in Plaintiff’s credit

file; (iv) failing to review and consider all relevant information submitted by Plaintiff

in the disputes; and (v) relying upon verification from a source it has to know is

unreliable.

      160. Despite the large amount of information and documentation produced

by Plaintiff demonstrating the inaccurate reporting, Trans Union failed to conduct




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independent investigations into Plaintiff’s disputes and simply transferred the duty

to investigate to the furnisher.

      161. Plaintiff provided Trans Union with the information it needed to

confirm that she was a victim of identity theft. Trans Union ignored this information

and failed to conduct a thorough investigation into her disputes or otherwise make

her credit file accurate.

      162. As a direct result of this conduct, action and/or inaction of Trans Union,

Plaintiff suffered damage, including without limitation, loss of the ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      163. The conduct, action, and/or inaction of Trans Union was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

      164. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to § 1681o.

      WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual damages against Defendant, TRANS UNION LLC; award Plaintiff her

attorney’s fees and costs; award pre-judgment and post-judgment interest at the legal




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rate; enjoinder from further violations of these parts; and such other such relief the

Court may deem just and proper.

                                  COUNT XIV
                       Violation of 15 U.S.C. § 1681i as to
                      Defendant, Trans Union LLC (Willful)

      165. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

      166. After receiving Plaintiff’s disputes, Trans Union violated 15 U.S.C. §

1681i by: (i) failing to delete inaccurate information in Plaintiff’s credit file after

receiving notice of such inaccuracies; (ii) failing to conduct a lawful and reasonable

reinvestigation into Plaintiff’s disputes; (iii) failing to maintain reasonable

procedures with which to filter and verify disputed information in Plaintiff’s credit

file; (iv) failing to review and consider all relevant information submitted by Plaintiff

in the disputes; and (v) relying upon verification from a source it has to know is

unreliable.

      167. Despite the large amount of information and documentation produced

by Plaintiff demonstrating the inaccurate reporting, Trans Union failed to conduct

independent investigations into Plaintiff’s disputes and simply transferred the duty

to investigate to the furnisher.

      168. Plaintiff provided Trans Union with the information it needed to

confirm that she was a victim of identity theft. Trans Union ignored this information

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and failed to conduct a thorough investigation into her disputes or otherwise make

her credit file accurate.

      169. As a direct result of this conduct, action and/or inaction of Trans Union,

Plaintiff suffered damage, including without limitation, loss of the ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

      170. The conduct, action, and/or inaction of Trans Union was willful,

rendering it liable for actual or statutory damages and punitive damages in an amount

to be determined by the Court pursuant to 15 U.S.C. § 1681n.

      171. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to § 1681n.

      WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual or statutory damages and punitive damages against Defendant, TRANS

UNION LLC; award Plaintiff her attorney’s fees and costs; award pre-judgment and

post-judgment interest at the legal rate; enjoinder from further violations of these

parts; and such other such relief the Court may deem just and proper.




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                                   COUNT XV
                       Violation of 15 U.S.C. § 1681g as to
                     Defendant, Trans Union LLC (Negligent)

       172. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

       173. After receiving Plaintiff’s disputes, Trans Union violated 15 U.S.C. §

1681g by failing to disclose to Plaintiff all information in Plaintiff’s credit file.

       174. Plaintiff provided to Trans Union appropriate and sufficient proofs of

identity to allow Trans Union to create a high degree of confidence in knowing the

identity of Plaintiff.

       175. Despite the sufficient proofs of identification produced by Plaintiff,

Trans Union refused to conduct any independent investigations into Plaintiff’s

disputes and provide any documentation, her credit report, or dispute results to

Plaintiff.

       176. As a direct result of this conduct, action and/or inaction of Trans Union,

Plaintiff suffered damage, including without limitation, loss of the ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.




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       177. The conduct, action, and/or inaction of Trans Union was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681o.

       178. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to § 1681o.

       WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual damages against Defendant, TRANS UNION LLC; award Plaintiff her

attorney’s fees and costs; award pre-judgment and post-judgment interest at the legal

rate; enjoinder from further violations of these parts; and such other such relief the

Court may deem just and proper.

                                     COUNT XVI
                          Violation of 15 U.S.C. § 1681g as to
                         Defendant, Trans Union LLC (Willful)

       179. Plaintiff re-alleges and incorporates paragraphs one (1) through fifty-

five (55) above as if fully stated herein.

       180. After receiving Plaintiff’s disputes, Trans Union violated 15 U.S.C. §

1681g by failing to disclose to Plaintiff all information in Plaintiff’s credit file.

       181. Plaintiff provided to Trans Union appropriate and sufficient proofs of

identity to allow Trans Union to create a high degree of confidence in knowing the

identity of Plaintiff.




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       182. Despite the sufficient proofs of identification produced by Plaintiff,

Trans Union refused to conduct any independent investigations into Plaintiff’s

disputes and provide any documentation, her credit report, or dispute results to

Plaintiff.

       183. As a direct result of this conduct, action and/or inaction of Trans Union,

Plaintiff suffered damage, including without limitation, loss of the ability to benefit

from lower interest rates; loss of time; financial loss; and mental and emotional pain

stemming from the anguish, humiliation, and apprehension in applying for credit and

the damages otherwise outlined in this Complaint.

       184. The conduct, action, and/or inaction of Trans Union was willful,

rendering it liable for actual or statutory damages and punitive damages in an amount

to be determined by the Court pursuant to 15 U.S.C. § 1681n.

       185. Plaintiff is entitled to recover costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to § 1681n.

       WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award actual or statutory damages and punitive damages against Defendant, TRANS

UNION LLC; award Plaintiff her attorney’s fees and costs; award pre-judgment and

post-judgment interest at the legal rate; enjoinder from further violations of these

parts; and such other such relief the Court may deem just and proper.




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                                   JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a

trial by jury of all issues triable by jury.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, TENA L. COX, respectfully requests that this Court

award judgment for actual, statutory, compensatory, and punitive damages against

Defendants,     EQUIFAX        INFORMATION            SERVICES       LLC;     EXPERIAN

INFORMATION SOLUTIONS, INC.; and TRANS UNION LLC, jointly and

severally; attorneys’ fees and costs; prejudgment and post-judgment interest at the

judgment rate; and such other relief the Court deems just and proper.

       DATED this 30th day of December 2024.

                                                    Respectfully submitted,

                                                    /s/ Octavio Gomez
                                                    Octavio “Tav” Gomez, Esq.
                                                    Florida Bar #: 0338620
                                                    Georgia Bar #: 617963
                                                    Pennsylvania Bar #: 325066
                                                    The Consumer Lawyers PLLC
                                                    501 Kennedy Blvd, Suite 610
                                                    Tampa, Florida 33602
                                                    Cell: (813) 299-8537
                                                    Facsimile: (844) 951-3933
                                                    Tav@theconsumerlawyers.com
                                                    Attorney for Plaintiff




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